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United States District Court

for the
Eastern District of New York
ONEWEST BANK, N.A. )
) Civil Action No. 14-cv-5529
Plaintiff )
)
)
V. ) NOTICE OF MOTION
)
)
JANET R. DENHAM, LLOYD DENHAM, _ )
EDWARD BRYAN, )
)
Defendant(s) )

PLEASE TAKE NOTICE that upon the instant Notice of Motion, Declaration in support of
Gross Polowy, LLC by Stephen J. Vargas, Esq., Attorneys for Plaintiff dated November 27, 2017 and
the exhibits attached thereto. The Plaintiff moves this Court, before the Hon. Denis R. Hurley at the
United States District Court for the Eastern District of New York located at 100 Federal Plaza, Central
Islip, NY 11722, for an order granting the following to the movant:
(a) Vacating the Judgment of Foreclosure and Sale filed with the Clerk of the Court on October 1,
2015, pursuant to Fed. R. Civ. P. §60;
(b) Voluntarily dismissing the mortgage foreclosure action pursuant to Fed. R. Civ, P, 41;
(c) Cancelling the Notice of Pendency of Action pursuant to New York Civil Practice Law and
Rules §6514;
(d) Granting such other and further relief this Court may deem just and proper.

PLEASE TAKE FURTHER NOTICE, Plaintiff will serve these motion papers on all
Defendants pursuant to Fed. R. Civ. P. 5

DATED: November 27, 2017 Gross Polowy, LLC
Westbury, New York /SJV/

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Attomeys for Plaintiff CIT Bank, N.A.
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CIT BANK, N.A. FORMERLY KNOWN AS ONEWEST BANK, N.A.

VS.

JANET R. DENHAM, LLOYD DENHAM, EDWARD BRYAN

Civil Action No.: 14-cv-5529

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